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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 PINE BLUFF DIVISION

M.L.M.                                                                           PLAINTIFF

VS.                               CASE NO. 5:17-CV-00013

JEFFERSON COUNTY, ARKANSAS, et al.                                            DEFENDANTS

                       PLAINTIFF’S FIRST MOTION IN LIMINE
                  AND COMBINED MEMORANDUM BRIEF IN SUPPORT

        COMES NOW Plaintiff, M.L.M., by and through her attorneys, for her First Motion

in Limine and incorporated Brief in Support thereof, herein states as follows:

   I.         M OTION IN LIM IN E TO PROH IBIT DEFEN DAN TS’ FROM
              OFFERIN G AN Y EVIDEN CE OR M AKIN G AN Y SU GGESTION
              TH AT TH ERE W AS CON SEN T ON BEH ALF OF TH E PLAIN TIFF
              AN D/OR REFEREN CIN G AN Y ALLEGED SEXU AL H ISTORY
              AN D/OR PREVIOU S SEXU AL CON DU CT OF PLAIN TIFF.

        1.       Defendants should be prohibited from introducing any evidence or making

and suggestion regarding Plaintiff’s alleged sexual history or prior sexual conduct due to

the policy underlying Arkansas’ “rape shield” law, ARK. CODE ANN. § 16–42–101, and

Federal Rule of Evidence 412.

        2.       In good faith, Plaintiff believes Defendants will seek to introduce evidence

that is intended to attack the victim's character and show that she was predisposed to

sexual conduct. On information and belief, said evidence may include videos of Plaintiff

dancing naked on a table at the direction of separate Defendants’ Lafarius Hoskins and

James Ferguson hours before Plaintiff was raped by said Defendants.

        3.       In criminal prosecutions, Arkansas’ rape-shield statute specifically prohibits

introduction of evidence concerning a victim's prior sexual history for that purpose, stating

that "evidence of specific instances of the victim's prior sexual conduct with the defendant

or any other person, . . . is not admissible by the defendant, . . . to attack the credibility of
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the victim, to prove consent, or any other defense, or for any other purpose." Ark. Code Ann.

§ 16–42–101 (b).

         4.       While this is not a case involving a criminal prosecution, the public policy

behind the rape shield statute is equally compelling in the context of this case.

         5.       Federal Rule of Evidence 412 embraces the same public policy and

specifically forbids the use of evidence to prove a victim’s sexual predisposition.

         6.       The clear public policy under both state and federal law is that a victim’s

prior sexual conduct should not be used against them.

         7.       Plaintiff’s alleged sexual history is entirely irrelevant and contrary to law

and public policy that prohibits any such suggestion.

         8.       Introduction of such evidence would serve no probative value and greatly

prejudice Plaintiff.

         9.       The court should enter an order forbidding the defendant from introducing

any evidence of the Plaintiff prior sexual conduct for any purpose.

   II.         M OTION IN LIM IN E TO PROH IBIT DEFEN DAN T’S FROM
               OFFERIN G AN Y EVIDEN CE OR M AKIN G AN Y SU GGESTION
               RELATED TO M .L.M . N OT ATTEN DIN G TH E CRIM IN AL TRIALS
               OF SEPARATE DEFEN DAN TS LAFARIU S H OSKIN S AN D JAM ES
               FERGU SON .

         10.      Federal Rule of Evidence 401 specifically states that evidence is relevant only

if it has any tendency to make a fact more or less probable than it would be without the

evidence and the fact is of consequence in determining the action.

         11.      Federal Rule of Evidence 402 specifically states that irrelevant evidence is

not admissible.

         12.      In good faith, Plaintiff believes that the Defendants may attempt to introduce

evidence that she did not attend the criminal trials of Defendants Lafarius Hoskins and

James Ferguson.
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       13.     This is irrelevant, as Plaintiff’s attendance at the criminal trial of the above

referenced Defendants does not have any tendency to make a fact that is of consequence to

determining the action at hand more or less probable.

       14.     The Court should enter an order forbidding the Defendant from discussing

the Plaintiff’s attendance at the Defendants’ criminal trial before the jury.

   III.      M OTION IN LIM IN E TO PROH IBIT TH E U SE OF PREVIOU SLY
             U N DISCLOSED IN FORM ATION .

       15.     On June 15, 2017, this Court entered a final scheduling Order in this matter.


       16.     On January 4, 2018, the Court entered a separate Order granting the Parties’

Joint Motion to Extend the discovery deadline in this matter to March 8, 2018.

       17.     The parties have conducted written discovery and depositions and said

discovery is essentially complete.

       18.     One of the primary purposes of discovery is to prevent surprise at trial.

       19.     All parties have had equal and ample opportunity to conduct discovery and

discovery is essentially complete.

       20.     The Court should enter an Order prohibiting the Parties from introducing

any evidence not previously disclosed in the discovery process.

       WHEREFORE, Plaintiff, M.L.M., respectfully requests that this Court grant this

Motion in its entirety. Plaintiff further requests that this Court order Defendants' Counsel

to inform any and all of its witnesses of the ruling in this Motion in Limine, and be

instructed not to mention, directly, indirectly, or inadvertently, any of the matters

addressed in this Motion in the presence of the jury, during voir dire, opening statement,

closing argument, or during the examination or cross-examination of any witness. Plaintiff

further requests that Defendants' Counsel not make any reference to the fact that this

Motion in Limine was filed or that any Order was rendered therefrom.
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                                                      Respectfully submitted,


                                                     ____________________________________
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                                CERTIFICATE OF SERVICE

        I, Joe A. Denton, hereby certify that on April 9, 2018, I electronically filed the foregoing
document with the Clerk of the Court for the U.S. District Court, Eastern District of Arkansas,
using the electronic filing system of the Court. The electronic case filing system sent a “Notice
of Electronic Filing” to the following attorneys of record who have previously consented in
writing to accept this Notice as service of this document by electronic means:

       Gene E. McKissic                              C. Burt Newell
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       I, Joe A. Denton, do hereby further certify that on April 9, 2018, a copy of the above
pleading was served on separate Defendant Lafarius Hoskins by first class mail with sufficient
postage paid to ensure delivery at 159 Commerce Road, Conway, Arkansas 72032.


                                                  ___________________________________
                                                  Joe A. Denton, ABA # 2012167
